       Case 4:23-cv-05448-YGR Document 6-2 Filed 10/24/23 Page 1 of 4



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     California
 9
                              IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                           OAKLAND DIVISION
12

13
     STATE OF ARIZONA, ex rel. KRIS
14   MAYES, ATTORNEY GENERAL;

15   THE PEOPLE OF THE STATE OF                               Case No. 4:23-cv-05448-YGR
     CALIFORNIA;
16
     STATE OF COLORADO, ex rel. PHILIP J.                     Hon. Yvonne Gonzalez Rogers
17   WEISER, ATTORNEY GENERAL;

18   STATE OF CONNECTICUT;                                    DECLARATION OF BERNARD A.
                                                              ESKANDARI IN SUPPORT OF
19   STATE OF DELAWARE, ex rel.                               PLAINTIFFS’ ADMINISTRATIVE
     KATHLEEN JENNINGS,                                       MOTION TO DETERMINE WHETHER
20   ATTORNEY GENERAL OF THE STATE OF                         DEFENDANT META PLATFORMS,
     DELAWARE;                                                INC.’S MATERIALS SHOULD BE
21                                                            SEALED
     STATE OF GEORGIA ex rel.
22   CHRISTOPHER M. CARR, ATTORNEY
     GENERAL OF THE STATE OF GEORGIA;
23
     STATE OF HAWAI‘I, ex rel. ANNE E.
24   LOPEZ, ATTORNEY GENERAL;

25   STATE OF IDAHO, through ATTORNEY
     GENERAL RAÚL R. LABRADOR;
26
     THE PEOPLE OF THE STATE OF
27   ILLINOIS;

28   STATE OF INDIANA;
                                                          1
                                                                    Eskandari Decl. in support of Pls.’ Admin. Mot.
                                                                                                   (4:23-cv-05448)
      Case 4:23-cv-05448-YGR Document 6-2 Filed 10/24/23 Page 2 of 4



 1
     STATE OF KANSAS, ex rel. KRIS W.
 2   KOBACH, Attorney General;
 3   THE COMMONWEALTH OF
     KENTUCKY;
 4
     STATE OF LOUISIANA;
 5
     STATE OF MAINE;
 6
     OFFICE OF THE ATTORNEY GENERAL
 7   OF MARYLAND;
 8   STATE OF MICHIGAN ex rel. DANA
     NESSEL, ATTORNEY GENERAL;
 9
     STATE OF MINNESOTA, by its
10   ATTORNEY GENERAL, KEITH ELLISON;
11   STATE OF MISSOURI, ex rel. ANDREW
     BAILEY, ATTORNEY GENERAL;
12
     STATE OF NEBRASKA ex rel. MICHAEL
13   T. HILGERS, ATTORNEY GENERAL;
14   MATTHEW J. PLATKIN, ATTORNEY
     GENERAL FOR THE STATE OF NEW
15   JERSEY, AND CARI FAIS, ACTING
     DIRECTOR OF THE NEW JERSEY
16   DIVISION OF CONSUMER AFFAIRS;
17   THE PEOPLE OF THE STATE OF NEW
     YORK, by LETITIA JAMES, ATTORNEY
18   GENERAL OF THE STATE OF NEW
     YORK;
19
     STATE OF NORTH CAROLINA, ex rel.
20   JOSHUA H. STEIN, ATTORNEY
     GENERAL;
21
     STATE OF NORTH DAKOTA, ex rel.
22   DREW WRIGLEY, ATTORNEY GENERAL;
23   STATE OF OHIO, ex rel. ATTORNEY
     GENERAL DAVE YOST;
24
     STATE OF OREGON ex rel. ELLEN F.
25   ROSENBLUM, ATTORNEY GENERAL
     FOR THE STATE OF OREGON;
26
     COMMONWEALTH OF
27   PENNSYLVANIA
     BY ATTORNEY GENERAL MICHELLE A.
28   HENRY;
                                          2
                                                 Eskandari Decl. in support of Pls.’ Admin. Mot.
                                                                                (4:23-cv-05448)
       Case 4:23-cv-05448-YGR Document 6-2 Filed 10/24/23 Page 3 of 4



 1
     STATE OF RHODE ISLAND;
 2

 3   STATE OF SOUTH CAROLINA, ex. rel.
     ALAN M. WILSON, IN HIS OFFICIAL
 4   CAPACITY AS ATTORNEY GENERAL OF
     THE STATE OF SOUTH CAROLINA;
 5
     STATE OF SOUTH DAKOTA ex rel.
 6   MARTY J. JACKLEY, SOUTH DAKOTA
     ATTORNEY GENERAL;
 7
     COMMONWEALTH OF VIRGINIA,
 8   ex rel. JASON S. MIYARES,
     ATTORNEY GENERAL;
 9
     STATE OF WASHINGTON, ex rel.
10   ROBERT W. FERGUSON, ATTORNEY
     GENERAL;
11
     STATE OF WEST VIRGINIA, ex rel.
12   PATRICK MORRISEY, ATTORNEY
     GENERAL; and
13
     STATE OF WISCONSIN,
14
                              Plaintiffs,
15
                    v.
16
     META PLATFORMS, INC.;
17
     INSTAGRAM, LLC;
18
     META PAYMENTS, INC.; and
19
     META PLATFORMS TECHNOLOGIES,
20   LLC,
21                            Defendants.
22

23   I, Bernard A. Eskandari, declare and state as follows:
24          1.      I am a Supervising Deputy Attorney General in the Consumer Protection Section
25   of the Public Rights Division of the California Department of Justice and counsel for the People
26   of the State of California in this action. I am a member in good standing of the State Bar of
27   California. I make this declaration based on my own personal knowledge. If called upon to
28
                                                      3
                                                                Eskandari Decl. in support of Pls.’ Admin. Mot.
                                                                                               (4:23-cv-05448)
       Case 4:23-cv-05448-YGR Document 6-2 Filed 10/24/23 Page 4 of 4



 1   testify, I could and would testify completely to the truth of the matters stated herein.

 2          2.      I submit this declaration, as required by Civil Local Rule 7-11, in support of

 3   Plaintiffs’ Administrative Motion to Determine Whether Defendant Meta Platforms Inc.’s

 4   Materials Should Be Sealed.

 5          3.      The Filing States’ complaint [Dkt. No. 1] contains and refers to materials produced

 6   by Defendant Meta Platforms, Inc. (“Meta”) in the course of the Filing States’ investigation and

 7   designated by Meta as “Confidential.” Filing States have agreed to file their complaint containing

 8   these materials or references conditionally under seal, to the extent allowed by the Local Rules.

 9          4.      The Filing States take no position at this time on whether, and do not concede that,

10   any of the referenced material satisfies the requirements for filing under seal.

11          5.      As required by Civil Local Rule 79-5, the Filing States have filed a redacted

12   version of their complaint on the public docket. An unredacted version is attached to this motion

13   as Exhibit B, with highlights to indicate where redactions are made in the redacted version of the

14   complaint.

15          6.      This motion is being filed contemporaneously with the opening of this case and the

16   filing of the Filing States’ complaint. Accordingly, Meta (and other Defendants) had yet to appear

17   when the Filing States filed their conditionally redacted complaint, and therefore counsel was

18   unable to confer with Defendants to obtain a stipulation.

19          7.      Further, because Meta (nor any Defendant) has yet to appear, the Filing States will

20   serve this motion and related documents on Defendants consistent with Rule 4 of the Federal

21   Rules of Civil Procedure and file a separate proof, following service.

22         I declare under penalty of perjury that the foregoing is true and correct. Executed on

23   October 24, 2023, in Los Angeles, California.

24

25                                                         BERNARD A. ESKANDARI
26

27

28
                                                       4
                                                                 Eskandari Decl. in support of Pls.’ Admin. Mot.
                                                                                                (4:23-cv-05448)
